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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  DANIEL ROBERT                             *
  SSGT, U.S. ARMY                           *
                                            *
  HOLLI MULVIHILL                           *
  SSGT, USMC                                *
                                            *
         Plaintiffs,                        *
                                            *
                 v.                         *
                                            *   Civil Action No. 1:21-cv-002228
  LLOYD AUSTIN                              *
  Secretary of Defense,                     *
  U.S. DEPARTMENT OF DEFENSE                *
  Washington, D.C. 20301                    *
                                            *
         and                                *
                                            *
  XAVIER BECERRA                            *
  Secretary of the U.S. Department of       *
  Health and Human Services                 *
  U.S. DEPARTMENT OF HEALTH                 *
  AND HUMAN SERVICES                        *
                                            *
         and                                *
                                            *
  JANET WOODCOCK, Acting                    *
  Commissioner of the Food & Drug           *
  Administration                            *
  U.S. FOOD AND                             *
  DRUG ADMINISTRATION                       *
                                            *
  UNITED STATES OF AMERICA                  *
                                            *
         Defendants.                        *
  *      *     *     *        *         *   *   *     *      *      *      *

                          PLAINTIFF’S VERIFIED MOTION FOR AN
                       EMERGENCY TEMPORARY RESTRAINING ORDER
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                                      RULE 7.1 CERTIFICATE

         1.      Pursuant to D.C.Colo.L.Civ.R. 7.1, Todd Callender, counsel for Plaintiffs, has

  attempted to contact the Defendants counsel and left voice messages detailing information about

  the call, including the reason and case style and/or number, though did not reach a natural person

  to speak with. Plaintiff is confident that Defendants will or do oppose the relief sought by this

  Motion.


        NOTICE OF FILING OF MOTION FOR TEMPORARY RESTRAINING ORDER

         2.      Counsel for Plaintiffs, Todd Callender, attempted to contact the Office of General

  Counsel for all of the Defendant Agencies, but was unsuccessful. Plaintiff’s counsel Todd

  Callender informed all of the Defendants’ GC offices, which the FDA and HHS share, of the filed

  Complaint in this matter and the intended filing of Plaintiff’s Motion for Temporary Restraining

  Order and Preliminary Injunction. Counsel for Plaintiffs is in possession of three Returns of

  Service of Process thereby indicating the Complaint, evidence and Summonses were delivered.

         3.      Defendants will be provided actual notice by additional Service of Process of

  Plaintiffs’ Motion and of Plaintiffs’ intent to seek a hearing on the Motion at the Court’s earliest

  convenience. A proposed order is appended at the end of this Motion.


                                 Procedural History and Background


         4.      Plaintiffs SSG Dan Robert, U.S. Army, and SSgt Hollie Mulvihill, USMC, are both

  active-duty service members currently serving the United States Armed Forces. The Plaintiffs

  represent the class of at least 220,000 thousand currently-serving U.S. servicemen and women who

  can document that they have already been infected with COVID-19, recovered from it, and thereby

  acquired natural immunity from the virus. Plaintiffs filed suit with this court on August 17, 2021,

  to vindicate their rights, including their right to be free from unwanted physical intrusion, to


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  reserve their guaranteed, codified and fundamental rights of informed consent; and to be free from

  involuntary inoculation against a virus that poses statistically zero threat to them. Forcibly

  inoculating the Plaintiffs class will provide no benefit to them and will cause significant and

  irreparable physical harm and or death. Worst of all, existing laws and regulations unequivocally

  provide the exemption Plaintiffs seek, yet the Defendant DoD by and through its Secretary Austin,

  has issued a mandate ignoring the DoD’s own regulations and creating an entirely new definition

  of “full immunity” that can only be achieved by this forced vaccination. In so doing, the

  Defendants are acting ultra vires in derogation of Plaintiffs’ rights, in violation of existing laws,

  regulations, medical ethics, and the overwhelming weight of scientific evidence.

                      MOTION FOR TEMPORARY RESTRAINING ORDER

         5.      Plaintiffs are staring at a mandate that began last Thursday. If Plaintiffs are not

  granted the relief sought, they will suffer immediate physical harm by being forced to take a

  vaccine for a virus to which they already have immunity. This will constitute an unconsented

  physical invasion of the worst kind, with a novel mRNA technology that has not even been tested

  on the entire class of Plaintiffs.1 Plaintiffs also have a clear and unequivocal right to the exemption

  they are seeking under the DoD’s own regulations.

                 To obtain a temporary restraining order under Rule 65(b)(1)(a) of
                 the Federal Rules of Civil Procedure, a plaintiff must show, via
                 affidavit: (i) that he will suffer immediate and irreparable injury
                 before the defendant can be heard in opposition; and (ii) the efforts
                 he has made to give notice of the request to the opposing party, or
                 to show why notice should be excused.



  1
    The Phase III trial that was used as the basis for the FDA “approval” – a matter which Plaintiffs
  do not concede and will show on full-briefing was a fraudulent approval – specifically excluded
  from its cohort anyone who had already had Covid-19 as a contraindication. This means that the
  vaccine’s effects upon the entire class of Plaintiffs is unknown and constitutes a new experiment,
  which requires by law Plaintiffs’ informed consent. See Exhibit 2, Affidavit of Dr. Jane Ruby,
  ¶14(e).

                                                                                                       3
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  Watts v. Donley, 15-cv-00320 (D. Colo. 2015).

            6.   As noted supra ¶1-3, Plaintiffs’ counsel has attempted to contact the Defendants’

  counsel after the filing of this lawsuit, but the Defendant Austin announced an immediate mandate

  for vaccination this past Thursday and the DoD is proceeding with all speed to force this vaccine

  on over 222,000 service members who have already had and recovered from SARS-CoV-2 (i.e.

  Covid-19). Plaintiffs have no choice but to seek this emergency relief in order to protect their

  rights.

            7.   Plaintiffs are likely to prevail upon the merits for the relief sought, namely a

  permanent injunction against the Defendant DoD, as well as a declarative judgment regarding the

  Defendant DoD’s actions. Army Regulation 40-562 (“AR 40-562”) is the all-service publication

  that governs the administration of “Immunizations and Chemoprophylaxis for the Prevention of

  Infectious Diseases.” The regulation provides documented survivors of an infection a presumptive

  exemption from vaccination due to the natural immunity acquired as a result of having survived

  the infection. “General examples of medical exemptions include the following… Evidence of

  immunity based on serologic tests, documented infection, or similar circumstances.” AR 40-562,

  ¶2-6a.(1)(b). Defendant HHS’ own Assistant Secretary, Dr. Admiral Bret Diroir, stated on August

  24, 2024 in an interview aired on Fox News: “So natural immunity, it’s very important. . . There

  are still no data to suggest vaccine immunity is better than natural immunity. I think both are

  highly protective.”2 (emphasis added)

            8.   Yet on the same day, Defendant SecDef Austin issued a memo mandating the entire

  Armed Forces be inoculated. In that memo the SecDef created a new term and concept, in complete




  2
   See also sworn affidavit of Dr. Peter McCullough filed with the original Complaint on Monday,
  August 23, 2021

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  contravention to the plain language of DoD’s own regulations, to longstanding immunology

  practice, to medical ethics, to the abovementioned remarks by the Asst. Secy of HHS, and to the

  overwhelming weight of scientific evidence regarding this specific virus. See Exhibit 3, SecDef

  Memo dtd Aug. 24, 2021 (“Those with previous COVID-19 infection are not considered fully

  vaccinated.”)(emphasis added). The DoD regulation contains no such term, nor concept, and the

  Defendant SecDef’s new definition effectively wipes away the DoD’s own regulation. The SecDef

  is not a doctor, and this declaration has no basis in medical science at all, nor did this instant change

  to the regulation go through any notice and comment period, nor rulemaking process, nor any

  process at all. Indeed, the SecDef simply declared it without a scintilla of evidence to support it.

  This alone constitutes a glaring abuse of discretion under Administrative Procedures Act review

  and should entitle the Plaintiffs to a declaratory judgment against the Defendant Austin on the

  merits. See, e.g., Doe v. Rumsfeld, 297 F.Supp.2nd 119 (DDC, 2003). Important for this Court’s

  consideration is that as Doe v. Rumsfeld notes in its detailed analysis, this is not a matter that will

  cause harm to the Defendants by allowing this TRO until the Court can receive a full-briefing on

  the matter because all this TRO does is continue what has been the status quo ante up until this

  past Thursday.

          9.       The Federal Food Drug & Cosmetic Act (FDCA), 21 U.S.C. §301 et seq., and its

  associated federal regulations, govern the process by which drug manufacturers apply for and are

  eventually granted a license for new drugs. The regulations are legion and cover a myriad of

  aspects of the testing, manufacture, handling, delivery, labeling, and even the marketing and

  advertising of approved drugs and biologics. Generally speaking, the standard for scientific

  evidence acceptable for demonstrating substantial effectiveness is defined by Congress as:

                   adequate and well controlled investigations, including clinical
                   investigations, conducted by experts qualified by scientific training



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                 and experience to evaluate the effectiveness of the drug involved,
                 on the basis of which it could be fairly and responsibly be
                 concluded by such experts that the drug will have the effect it
                 purports or is represented to have under the conditions of use
                 prescribed, recommended, or suggested in the labeling.

  21 U.S.C. §355(i).

         10.     To demonstrate both safety and efficacy, the FDA “typically requires three phases

  of clinical trials” for vaccines.3 Phase I trials include small numbers of healthy volunteers, perhaps

  a few dozen to a hundred.4 Phase 2 studies usually involve a slightly larger cohort and looks for

  short-term reactions to the vaccine. Phase 3 studies are supposed to be the most robust, both in

  terms of numbers of participants and in the scientific rigor that the products are required to meet.

  All of these studies are planned in advance and submitted for approval to the FDA.

                 In Phase 3 studies, hundreds or thousands of volunteers participate.
                 Vaccinated people are compared with people who have received a
                 placebo or another vaccine so researchers can learn more about the
                 test vaccine’s safety and effectiveness and identify common side
                 effects.5

         11.     The Pfizer-BioNtech BNT162b Covid-19 vaccine (the “EUA Pfizer Vaccine”)

  conducted Phase 1 and 2 trials. After their completion, Pfizer submitted a protocol for a Phase III,

  blinded, placebo-controlled trial lasting two years and involving 44,000 volunteers. The study’s

  scheduled end date was in mid-2023, to allow adequate time to follow the vaccine recipients and

  determine if there were intermediate to long-term side-effects from the vaccine, particularly

  considering that the mRNA technology for a vaccine has (a) never been approved by the FDA in




  3
    CDC website, last accessed on Aug. 26, 2021 -
  https://www.cdc.gov/vaccines/hcp/conversations/ensuring-safe-vaccines.html this is also an
  oversimplification as there will always be pre-clinical animal studies before vaccines are ever
  tested on human beings.
  4
    Id.
  5
    Id.

                                                                                                      6
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  its history, and (b) never been used on large cohorts of people.

         12.     In addition, in order to prove potency and efficacy of the vaccine, both legal

  requirements for a vaccine’s licensure, half of the volunteers received the vaccine and half received

  a placebo. The participants were blinded in order to ensure that the vaccine could produce better

  results than a placebo.

                 Clinical trials are conducted according to plans that FDA reviews
                 to ensure the highest scientific and ethical standards. The results of
                 the clinical trials are a part of FDA’s evaluation to assess the safety
                 and effectiveness of each vaccine. In addition to evaluating the
                 results of the clinical trials, FDA scientists and medical
                 professionals carefully evaluate a wide range of information
                 including results of studies on the vaccine’s physical, chemical,
                 and biological properties, as well as how it is manufactured, to
                 ensure that it can be made consistently safe, pure, and potent.6

         13.     Inexplicably, in the middle of that Phase III trial, the manufacturer un-blinded the

  two cohorts, and members of the placebo group were given the opportunity to take the vaccine if

  they wanted to. The FDA allowed this to happen; and allowed the manufacturer to turn the study

  from a placebo-controlled, blinded trial into an open, observational study.7

         14.     The British Medical Journal reached out to the manufacturers and FDA for an

  explanation.

                 The BMJ asked Moderna, Pfizer, and Janssen (Johnson and
                 Johnson) what proportion of trial participants were now formally
                 unblinded, and how many originally allocated to placebo have now
                 received a vaccine. Pfizer declined to say, but Moderna announced
                 that “as of April 13, all placebo participants have been offered the
                 Moderna covid-19 vaccine and 98% of those have received the
                 vaccine.” In other words, the trial is unblinded, and the placebo
                 group no longer exists…
                 How the FDA will weigh the loss of blinding and placebo
                 controlled follow-up is unclear, but just months ago the agency


  6
   Id.
  7
   In one cohort the researchers noted that 98% of the placebo class elected to take the IND
  vaccine. See, also, Affidavit of Dr. Ruby.

                                                                                                     7
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                 said these trial properties were vital.8

         15.     For clarity and fairness to the Defendants, the Defendant FDA’s own prior

  statement regarding the necessity of a placebo group was as follows:

                 Continuation of placebo controlled follow-up after EUA will be
                 important and may actually be critical to ensure that additional
                 safety and effectiveness data are accrued to support submission of
                 a licensure application as soon as possible following an EUA. …
                 Once a decision is made to unblind an ongoing placebo controlled
                 trial, that decision cannot be walked back. And that controlled
                 follow-up is lost forever.9

         16.     At its next advisory committee in December 2020, the FDA reiterated the

  importance of the placebo group: “Placebo controlled follow-up can be very important in showing

  that whatever happened in the vaccine group also happened in the placebo group. Because that’s

  our best way of knowing.”10 (emphasis added).

         17.     The Defendant FDA granted EUAs for three different Covid-19 “vaccines,” even

  though at least two of the different IND/EAU Covid 19 Vaccines share the same ingredients. See

  Exhibit 1, ¶14(g) of Dr. Grams’ Affidavit.

         18.     These biologic products are not vaccines in the normal way in which that word is

  used, as they do not use the same manufacturing processes, nor do they function in the same way

  as traditional vaccines. Traditional vaccines typically use a live, but weakened virus, or a dead

  virus, or a small, less-harmful segment of a live virus or bacteria, in order to stimulate the body’s

  natural immune response. See Exhibit 2, Affidavit of Dr. Jane Ruby.

         19.     The current Covid-19 “vaccines” all use novel mRNA or adenovirus technology to



  8
    BMJ 2021; 373: n1244
  9
    US Food and Drug Administration, 161st Vaccines and Related Biological Products Advisory
  Committee (VRBPAC) meeting. Oct 3, 2020. https://www.fda.gov/media/143982/download
  10
     US Food and Drug Administration. 162nd Vaccines and Related Biological Products Advisory
  Committee (VRBPAC) meeting. 2020. https://www.fda.gov/media/144859/download

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  stimulate a genetic immune response. In fact, the messenger RNA reprograms the user’s body to

  produce at least portions of the very same toxic spike proteins that constitute the pathogenic SARS-

  Cov-2 virus in an effort to arm the user’s immune defenses against a known enemy.11 Whereas

  adenovirus programing, such as found in the Johnson & Johnson (Janssen) vaccine uses non-

  enveloped DNA viruses (a DNA vaccine) or fragments to infect a wide range of the user’s cells to

  produce the same or similar spike proteins as the mRNA vaccines do.12 In the case of all three

  IND/EUA Covid 19 Vaccines, the injectables cause a user’s genome to produce abnormal S

  proteins, which are now known and demonstrated to cause mitochondrial damage and

  fragmentation.13

         20.     In short, all three Covid 19 Vaccines cause the user’s body to produce or over

  produce S-proteins which represent abnormal growth. On this basis alone, injury to the user’s

  genome may well be prospectively barred by the Americans with Disabilities Act (ADA),

  whether such user was disabled at the time of the injection or not. See Darby v. Childvine Inc. et

  al, 964 F.3d. 440, (citing 29 CFR § 1630.2(j)(3)(iii)).

         21.     The Vaccine Adverse Event Reporting System (VAERS) contains adverse event

  reports for all vaccines administered in the United States going back to July 1, 1990.14 Before the

  introduction of Covid-19 EUA vaccines by the Defendant FDA in December 2020, the VAERS

  system had recorded a total for ALL prior vaccines of 5039 deaths and 12,053 permanent

  disabilities. For the week beginning August 13, 2021, the VAERS system showed 13,068 reports



  11
     “Understanding Covid 19 mRNA Vaccines”; Mar. 4, 2021:
  https://www.cdc.gov/coronavirus/2019-ncov/vaccines/different-vaccines/mrna.html
  12
     “Prospect of SARS-CoV-2 spike protein: Potential role in vaccine and therapeutic
  development”; Virus Res. 2020 Oct 15; 288: 198141
  13
     “The Novel Coronavirus’ Spike Protein Plays Additional Key Role in Illness.”: Salk April 30,
  2021
  14
     VAERS Vaccine Adverse Event Reporting System data, available at https://vaers.hhs.gov/

                                                                                                    9
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  of death15 and 1,031,100 Serious Adverse Events resulting from the Covid-19 EUA vaccines

  alone.16

                                            CONCLUSION

         The Plaintiffs are facing a very real physical threat from their own leadership to take a

  vaccine they are specifically exempted from taking by sound medical practice codified in the

  DoD’s regulations. These regulations track federal law and the experience of years of vaccination

  that medically exempt people for a number of reasons, including prior adverse reaction to any

  vaccine, pregnancy, etc. AR 40-562 ¶2-6. The regulations also incorporate Constitutional

  considerations and allow for exemptions for religious reasons. (Id.) In light of the current situation,

  the Plaintiffs ask this Court to grant the requested relief so that both the Plaintiffs and Defendants

  can present a full briefing on the myriad of issues relating to these novel injectables and how they

  came to be rushed through the FDA process without having completed the requisite scientific

  studies or safety follow-up.

  Dated: August 30, 2021

  Respectfully submitted,

                                         /s/________
                                 Todd Callender, Esq.
                                 Colorado Bar #25981
                                 600 17th St., Suite 2800 South
                                 Denver, CO 80202
                                 Telephone: (303)-228-7065 x7068


  15
    https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/adverse-events.html
  16
    It is worth noting that in 1976 President Gerald Ford rushed to roll out a nationwide vaccine
  for a novel swine flu that had caused an outbreak among soldiers at Ft. Dix, New Jersey.
  Emergency legislation was passed and 6 months later the government began a mandatory
  vaccine program that had celebratory endorsements, images of the President getting his vaccine,
  and some 45 million citizens eventually received the vaccine. Approximately 450 people got
  Guillain Barre Syndrome and - while exact numbers are difficult to come by - approximately 25-
  35 Americans died from the vaccine. The program was halted after public outcry. One wonders
  how many more bodies will be the threshold for stopping this program – 20,000? 50,000?

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                               Email: todd@dradvocates.com
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

     DANIEL ROBERT                                *
     SSGT, U.S. ARMY                              *
                                                  *
     HOLLI MULVIHILL                              *
     SSGT, USMC                                   *
                                                  *
            Plaintiffs,                           *
                                                  *
                    v.                            *
                                                  *      Civil Action No. 1:21-cv-02228
     LLOYD AUSTIN                                 *
     Secretary of Defense,                        *
     U.S. DEPARTMENT OF DEFENSE                   *
     Washington, D.C. 20301                       *
                                                  *
            and                                   *
                                                  *
     XAVIER BECERRA                               *
     Secretary of the U.S. Department of          *
     Health and Human Services                    *
     U.S. DEPARTMENT OF HEALTH                    *
     AND HUMAN SERVICES                           *
                                                  *
             and                                  *
                                                  *
     JANET WOODCOCK, Acting                       *
     Commissioner of the Food & Drug              *
     Administration                               *
     U.S. FOOD AND                                *
     DRUG ADMINISTRATION                          *
                                                  *
     UNITED STATES OF AMERICA                     *
                                                  *
            Defendants.                           *
     *      *     *     *          *       *      *      *       *      *       *         *

                                       TEMPORARY ORDER

     1.     On August 30, 2021, the plaintiffs filed a motion for a temporary restraining order

     in the form of a stay pendente lite, preventing the Defendant Department of Defense from

     inoculating them and anyone similarly situated that comprises the class of service
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     members who can document that they have previously had Covid-19 and as a result have

     developed natural immunity that exempts them from inoculation under AR 40-562.

     2.     Having examined the original complaint, the enclosures thereto, this current

     motion and enclosures, it is hereby

     ORDERED, that the defendant Department of Defense is hereby temporarily

     restrained from inoculating the plaintiffs and class of plaintiffs, or taking any

     adverse administrative or punitive action against them, while this action is pending

     and until a final disposition of the matter is had before this Court or a superseding

     order is issued.


     Dated: August/September ____, 2021



                                                 ______________________________

                                                        Judge of the District Court




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